       Case 23-13858-mdc                     Doc 9 Filed 12/31/23 Entered 01/01/24 00:26:29                                     Desc Imaged
                                                  Certificate of Notice Page 1 of 2
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                               Case No. 23-13858-mdc
Lisa Ann Scott                                                                                                       Chapter 13
       Debtor
                                                    CERTIFICATE OF NOTICE
District/off: 0313-2                                                 User: admin                                                          Page 1 of 1
Date Rcvd: Dec 29, 2023                                              Form ID: pdf900                                                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 31, 2023:
Recip ID                  Recipient Name and Address
db                        Lisa Ann Scott, 205 Robin Hood Ln, Aston, PA 19014-1923

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 31, 2023                                           Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 29, 2023 at the address(es) listed
below:
Name                              Email Address
KENNETH E. WEST
                                  ecfemails@ph13trustee.com philaecf@gmail.com

MICHAEL A. CIBIK
                                  on behalf of Debtor Lisa Ann Scott mail@cibiklaw.com
                                  cibiklawpc@jubileebk.net;cibiklaw@recap.email;ecf@kramerica.enterprises;ecf@michaelscottpaper.co;ecf@nalabean.gg

United States Trustee
                                  USTPRegion03.PH.ECF@usdoj.gov


TOTAL: 3
Case 23-13858-mdc      Doc 9 Filed 12/31/23 Entered 01/01/24 00:26:29            Desc Imaged
                            Certificate of Notice Page 2 of 2


                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



  IN RE:                                :       CHAPTER 13

  Lisa Ann Scott

           DEBTOR                           :   BKY. NO. 23-13858-mdc


                                     ORDER



              AND NOW, this        29th day of    December       ,      202   upon
  consideration of Debtor's Application for an Extension of Time to file
  Chapter 13 matrix and list of creditors.

                It is Ordered that the Motion is Granted. Debtor has until 1/04/2024
  to file the necessary matrix and list of creditors in the above captioned matter.


                                                By the Court:


                                                Hon. Magdeline D. Coleman
                                                Chief U.S. Bankruptcy Court Judge
